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14
15                            IN THE UNITED STATES DISTRICT COURT
16                          FOR THE EASTERN DISTRICT OF CALIFORNIA
17
      UNITED STATES OF AMERICA,                ) Case No. 1:14-cr-00154-LJO-SKO-1
18                                             )
                     Plaintiff,                ) STIPULATION AND ORDER FOR BRIEFING
19                                             ) SCHEDULE
             vs.                               )
20                                             )
      ALEX MENDOZA,                            )
21                                             )
                     Defendant.                )
22                                             )
                                               )
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24
            IT IS HEREBY STIPULATED by and between the parties through their respective
25
     counsel, United States Attorney, McGregor W. Scott, through Assistant United States Attorney
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     Kimberly A. Sanchez, attorney for Plaintiff, and Federal Defender, Heather E. Williams, through
27
     Assistant Federal Defender David Harshaw, attorney for defendant, Alex Mendoza, that the
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     Stipulated Briefing Schedule                  -1-
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1    United States will have until July 17, 2020 to file a response to Defendant’s Motion for
2    Compassionate Release. Defendant will have until July 31, 2020 to file a reply.
3              General Order 595 provides that the Federal Defender has aurthority “to represent any
4    defendant who was previously determined to have been entitled to appointment of counsel, or
5    who is now indigent, to determine whether that defendant may qualify for federal relief under . . .
6    First Step Act Sectio[n] . . . 603 (Federal Prisoner Reentry Initiative Reauthorization
7    [Compassionate Release]), or otherwise, and to present any petitions, motions, or applications
8    relating thereto to the Court for disposition.” Per this Court’s referral, see ECF No. 277, the
9    undersigned Assistant Federal Defender has negotiated this briefing schedule on Mr. Mendoza’s
10   behalf.
11                                                   Respectfully submitted,
12    Dated: July 6, 2020                             HEATHER E. WILLIAMS
                                                      Federal Defender
13
                                                     /s/ David Harshaw
14                                                   DAVID HARSHAW
                                                     Assistant Federal Defender
15
                                                     Attorneys for Defendant
16                                                   Alex Mendoza
17
18   Dated: July 6, 2020                            McGREGOR W. SCOTT
                                                    United States Attorney
19
                                            By:     /s/ Kimberly A. Sanchez
20                                                  KIMBERLY A. SANCHEZ
                                                    Assistant U.S. Attorney
21
                                                    Attorney for Plaintiff
22                                                  United States of America
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     Stipulated Briefing Schedule                     -2-
     Case 1:14-cr-00154-JLT-SKO Document 280 Filed 07/07/20 Page 3 of 3



1                                                 ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefore, adopts the parties’ stipulation in its entirety as
4    its order.
5            The Court orders that the Plaintiff’s response to the Defendant’s Motion is due July 17,
6    2020, and the Defendant’s reply due July 31, 2020.
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     IT IS SO ORDERED.
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9        Dated:    July 7, 2020
                                                         UNITED STATES DISTRICT JUDGE
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     Stipulated Briefing Schedule                     -3-
